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     Counsel for Plaintiffs
14
                            IN THE UNITED STATES DISTRICT COURT
15                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                     OAKLAND DIVISION
16

17   PATRICK CALHOUN, et al., on behalf of           Case No. 4:20-cv-05146-YGR-SVK
     themselves and all others similarly situated,
18                                                   PLAINTIFFS’ ADMINISTRATIVE
            Plaintiffs,                              MOTION TO CONSIDER WHETHER
19                                                   ANOTHER PARTY’S MATERIAL SHOULD
            v.                                       BE SEALED
20
     GOOGLE LLC,                                     CIVIL L.R. 7-11 and 79-5(f)
21
            Defendant.                               Referral:      Honorable Susan van Keulen
22
                                                     No Hearing Date Set Pursuant to L.R. 7-11(c)
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 1            Pursuant to Civil Local Rules 7-11 and 79-5(f) and the Stipulated Protective Order entered
 2   in this matter, Dkt. No. 61, Plaintiffs respectfully submit this Administrative Motion to Consider
 3   Whether Another Party’s Material Should be Sealed, to the extent such material is quoted,
 4   summarized, or otherwise reflected in the documents (or portions thereof) indicated below:
 5                  Document              Portions Sought to be Sealed            Evidence Offered in
 6                                                                                Support of Sealing
              Exhibit B to Notice of   Entire document                          Defendant to provide
          1   Errata re Plaintiffs’                                             evidence, per
 7
              Statement Pursuant to                                             Local Rule 79-5(f)
 8            Court Order (Dkt.
              684) (correction of
 9
              Exhibit B docketed at
10            ECF Nos. 698-5, 698-
              6, 699-2)
11

12            Paragraph 12.4 of the Stipulated Protective Order prohibits a party from filing materials

13   designated “Confidential” or “Highly Confidential – Attorneys’ Eyes Only” in the public record.

14   Portions of the documents listed above quote, summarize, or otherwise reflect information that

15   Defendant Google LLC has designated “Confidential” or “Highly Confidential – Attorneys’ Eyes

16   Only.” Pursuant to Civil Local Rules 79-5(c)(1) and (f)(3), Defendant, as the Designating Party,

17   bears the responsibility to establish that all of the designated material is sealable.

18            In accordance with Civil Local Rules 79-5(d) and (e), the following attachments accompany

19   this motion:

20               1. a proposed order that lists in table format the documents sought to be sealed;

21               2. an unredacted version of Exhibit B to Notice of Errata re Plaintiffs’ Statement

22                   Pursuant to Court Order (Dkt. 684) (correction of Exhibit B docketed at ECF Nos.

23                   698-5, 698-6, 699-2); and

24               3. a redacted version of Exhibit B to Notice of Errata re Plaintiffs’ Statement Pursuant

25                   to Court Order (Dkt. 684) (correction of Exhibit B docketed at ECF Nos. 698-5,

26                   698-6, 699-2).

27   //

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     PLS. ADMIN. MOT. TO SEAL                           1             CASE NO. 4:20-CV-05146-YGR-SVK
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 1
     Dated: June 14, 2022                              Respectfully submitted,
 2
     BLEICHMAR FONTI & AULD LLP                        DICELLO LEVITT GUTZLER LLC
 3
     By: /s/ Lesley E. Weaver                          By:     /s/ David Straite
 4   Lesley Weaver (Cal. Bar No. 191305)               David A. Straite (admitted pro hac vice)
     Angelica M. Ornelas (Cal. Bar No. 285929)         Corban Rhodes (admitted pro hac vice)
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 8   aornelas@bfalaw.com
     jsamra@bfalaw.com                                 Amy Keller (admitted pro hac vice)
 9                                                     Adam Prom (admitted pro hac vice)
     SIMMONS HANLY CONROY LLC                          Sharon Cruz (admitted pro hac vice)
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17                                       Counsel for Plaintiffs

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     PLS. ADMIN. MOT. TO SEAL                      2              CASE NO. 4:20-CV-05146-YGR-SVK
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 1                ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)(3)
 2          I, Lesley Weaver, attest that concurrence in the filing of this document has been obtained
 3   from the other signatories. I declare under penalty of perjury that the foregoing is true and correct.
 4
     Dated: June 14, 2022                          /s/ Lesley Weaver
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                                                   Lesley Weaver
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     ATTESTATION                                                    CASE NO. 4:20-CV-05146-YGR-SVK
     Case 4:20-cv-05146-YGR          Document 701        Filed 06/14/22     Page 5 of 5



 1                                   CERTIFICATE OF SERVICE
 2          I, Lesley Weaver, hereby certify that on June 14, 2022, I electronically filed the foregoing
 3   document with the Clerk of the United States District Court for the Northern District of California
 4   using the CM/ECF system, which will send electronic notification to all counsel of record. I also
 5   caused a copy of the under seal filings to be delivered to counsel for Defendant Google LLC via
 6   electronic mail.
 7
     Dated: June 14, 2022                         /s/ Lesley Weaver
 8
                                                  Lesley Weaver
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     CERTIFICATE OF SERVICE                                       CASE NO. 4:20-CV-05146-YGR-SVK
